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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

The Sustainability Institute, Agrarian Trust, ) Civil Action Number: 2:25-cv-02152-RMG
Alliance for Agriculture, Alliance for the    )
Shenandoah Valley, Bronx River Alliance, )
CleanAire NC, Conservation Innovation         )
Fund, Earth Island Institute, Leadership      )
Counsel for Justice and Accountability,       )
Marbleseed, Organic Association of            )
Kentucky, Pennsylvania Association for        )
Sustainable Agriculture and Rural             )
Advancement Foundation                        )
International-USA, and Mayor and City         )
Council of Baltimore, City of Columbus        )
City of Madison, Metropolitan Government )
of Nashville and Davidson County,             )
City of New Haven, City of San Diego,         )
                                              )
                        Plaintiffs,           )
                                              )
                 vs.                          )
                                              )
DONALD J. TRUMP, in his official              )
capacity as President of the United States; )
KEVIN HASSETT, in his official capacity )
as Assistant to the President for Economic )
Policy and Director of the National           )
Economic Council; UNITED STATES               )
OFFICE OF MANAGEMENT AND                      )
BUDGET; RUSSELL VOUGHT, in his                )
official capacity as Director of the United )
States Office of Management and Budget; )
UNITED STATES ENVIRONMENTAL )
PROTECTION AGENCY; LEE ZELDIN, )
in his official capacity as Administrator of )
the United States Environmental Protection )
Agency; UNITED STATES                         )
DEPARTMENT OF AGRICULTURE;                    )
BROOKE ROLLINS in her official capacity )
as Secretary of Agriculture; UNITED           )
STATES DEPARTMENT OF                          )
TRANSPORTATION; SEAN DUFFY, in )
his official capacity as the Secretary of the )
United States Department of Transportation; )
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UNITED STATES DEPARTMENT OF                   )
GOVERNMENTAL EFFICIENCY                       )
SERVICE; AMY GLEASON, in her official )
capacity as Acting Administrator of the       )
United States DOGE Service; ELON MUSK)
in his official capacity as Senior Advisor of )
the United States DOGE Service,               )
                                              )
                        Defendants.           )

                    DEFENDANTS’ AMENDED NOTICE OF APPEAL

       Defendants hereby give notice of appeal to the United States Court of Appeals for the

Fourth Circuit the Order entered on April 29, 2025 [ECF No. 146] and the Order entered on May

20, 2025 [ECF No. 157] by the Honorable Richard M. Gergel, United States District Judge.


                                                      Respectfully submitted,

                                                      BRYAN P. STIRLING
                                                      UNITED STATES ATTORNEY

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May 21, 2025



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